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                            UNITED STATES DISTRICT COURT
                               DISTRICT OF MINNESOTA

United States of America,                                            Criminal No. 10-31 PJS/AJB

                               Plaintiff,

v.                                                     REPORT AND RECOMMENDATION

(1)    Arturo Barrilla Garcia,
(2)    Edvin Emanuel Gomez Maldonado,

                               Defendants.


               Thomas Hollenhorst, Esq., Assistant United States Attorney, for the plaintiff,
                      United States of America;
               John L. Fossum, Esq., for defendant Arturo Barrilla Garcia; and
               Stephen W. Walburg, Esq., for defendant Edvin Emanuel Gomez Maldonado.


               This action came on for hearing before the Court, Magistrate Judge Arthur J.

Boylan, on March 10, 2010, at the U.S. Courthouse, 316 North Robert Street, St. Paul, MN

55101. Testimony was presented at the hearing with regard to suppression of evidence and

dismissal of the indictment.

               Based upon the file and documents contained therein, along with testimony

presented at hearing, the magistrate judge makes the following:

Findings

               Vehicle Stop and Arrest. On December 10, 2009, St. Paul Police Officer Ken

Sass participated in an investigation in which a controlled drug transaction was arranged to take

place between a confidential source (CS) and an individual identified as Manuel Mata

Rodriguez. The CS telephoned Rodriguez and made arrangements to purchase three ounces of

crystal methamphetamine from Rodriguez. The transaction was to take place in the parking lot
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at a Taco Bell restaurant in West St. Paul.1 Prior to the controlled buy, the CS was pat-searched

by agents to ensure that he was not carrying any drugs on his person at the time of the exchange.

Officer Sass then followed the CS to the Taco Bell and conducted surveillance of the transaction.

                 In the course of surveillance, Officer Sass saw a Dodge Dakota pickup truck with

two occupants approach the scene. Officer Sass observed the truck through binoculars from an

adjacent business parking lot. Although Officer Sass could not identify each of the vehicle

occupants from that location, he recognized the defendants as the persons who were in the truck

and was subsequently able to distinguish between them based upon their clothing—defendant

Garcia was wearing a black jacket with gold piping and defendant Maldonado wore a distinctive

sweatshirt. At the time of the transaction at the Taco Bell, Garcia was driving the pickup and

Maldonado was sitting in the front passenger seat. After purchasing the methamphetamine, the

CS left the premises and Officer Sass observed Rodriguez walk to the passenger side of the

Dodge Dakota and extend his hands through the truck’s open window and into the cab. The

officer was not able to see an actual transfer of money or drugs. When agents later

rendezvoused with the CS, they took possession of the methamphetamine and once again

searched the CS. The seized contraband field-tested positive for methamphetamine.

                 Thereafter, the CS and Rodriguez made arrangements for second controlled

methamphetamine transaction to take place the same day at a West St. Paul K-Mart store parking

lot.2 Once again, Officer Sass and other agents conducted surveillance of the controlled drug

buy and again they observed a Dodge Dakota truck approach the site with two occupants.



       1
           Prelim. Hrg. Tr. 15 [Docket No. 49].
       2
           Id.

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Because of their distinctive clothing, Officer Sass believed the occupants to be the same persons

who had been involved in the prior transaction. Rodriguez arrived in a separate vehicle at the

same time as the defendants. He went to the driver’s side of the defendants’ pickup and

something was handed to him by defendant Garcia.3 Rodriguez then went to the CS’s vehicle

and delivered one ounce of methamphetamine to the CS. Upon exiting the CS’s vehicle,

Rodriguez returned to the Dodge Dakota where he interacted with the defendants while standing

at the driver’s side of the pickup.

                After the second controlled buy, agents on the scene followed Rodriguez and also

called Minneapolis police officers to assist in following the Dodge Dakota. Surveillance of the

pickup truck was somewhat intermittent, such that at times officers momentarily lost sight of the

vehicle. Furthermore, at one point during the traveling surveillance the truck stopped and the

occupants went into a business establishment. A vehicle stop was subsequently conducted by

Minneapolis officers in a marked squad car. The stop was not based upon police observing a

traffic violation, but was the result of instructions from lead investigating agents who determined

that a vehicle stop would be properly conducted on the basis of officer’s observations relating to

the methamphetamine transactions. At that time officers discovered that, in addition to the two

defendants in this action, there was another person in the vehicle who had not previously been

observed. Officers obtained oral identifications from each of the defendants and further

identified the third vehicle occupant as Juan Carlos Ortiz Sandoval. No contraband was

discovered in searches of the Dodge Dakota and the individual occupants, and no arrests were




       3
           Prelim. Hrg. Tr. 8-9.

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made at that time.4

                Based upon the foregoing Findings, the magistrate judge makes the following:

Conclusions

                Severance. Severance of defendants is not required in this matter. Defendants

Arturo Barrilla Garcia and Emanuel Gomez Maldonado have both moved for severance for

separate trials in this matter. Fed. R. Crim. P. 8(a) permits joinder of offenses in the same

indictment if the offenses are of the same or similar character or are based on the same act or

transaction or are based on acts connected together or constituting parts of a common scheme or

plan. The propriety of joinder under Rule 8(a) is a question of law, though relief from a legally

permissible joinder may be obtained as an exercise of discretion on motion for severance due to

prejudice, pursuant to Fed. R. Crim. P. 14. United States v. Rodgers, 732 F.2d 625, 628-29 (8th

Cir. 1984). Availability of the Rule 14 remedy permits broad construction of Rule 8 in favor of

initial joinder. Id. at 629. With respect to joinder of defendants in this instance, it has not been

shown that severance of co-defendants is necessary to avoid risk of compromising any specific

trial right to which each of them is entitled or is necessary to prevent the jury from making an

unreliable judgment as to the guilt or innocence of each of them.

                The individual co-defendants in this matter have been indicted for conspiring with

one another to distribute methamphetamine. Two or more defendants may be charged in the

same indictment if they are alleged to have participated in the same transaction or series of

incidents constituting an offense or offenses. Fed. R. Crim. P. 8(b). “There is a preference in the

federal system for joint trials of defendants who are indicted together.” Zafiro v. United States,



       4
           Prelim. Hrg. Tr. 17.

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506 U.S. 534, 537, 113 S.Ct. 933, 937 (1993). Typically, persons charged with conspiracy

should be tried together and it will rarely be improper for co-conspirators to be tried together.

United States v. Kindle, 925 F.2d 272, 277 (8th Cir. 1991); United States v. Stephenson, 924

F.2d 753, 761 (8th Cir. 1991). Nonetheless, the court may grant a severance of defendants if it

appears that a defendant is prejudiced by a joinder at trial. Fed. R. Crim. P. 14. A court “should

grant a severance under Rule 14 only if there is a serious risk that a joint trial would compromise

a specific trial right of one of the defendants, or prevent the jury from making a reliable

judgment about guilt or innocence.” Zafiro, 506 U.S. at 539, 113 S.Ct. at 938.

                Both of the defendants generally assert prejudice resulting from the introduction

of evidence against one of them that would be inadmissible against the other in a separate trial.

Each defendant also asserts improper joinder and difficulty for the jury in distinguishing between

the alleged acts of the defendants. Neither defendant describes grounds for severance with any

factual particularity.

                The counts and defendants in this case were properly joined under Rule 8 and

there is no requirement for severance based upon misjoinder. Rule 14 severance is a remedy for

prejudice that may develop during trial, and the decision on a Rule 14 motion for severance lies

within the sound discretion of the trial court. United States v. Robaina, 39 F.3d 858, 861 (8th

Cir. 1994). The record, including testimony produced at hearing, offers no compelling

indication as to how either defendant is prejudiced by joinder with other the defendant in this

case, particularly to the extent necessary to overcome the preference for joinder of defendants in

conspiracy cases. Specifically, it is not patently apparent that a jury would be unable to

distinguish and apply the evidence relating to one defendant from evidence relating to the other

defendant, and there has not been persuasive showing that a joined trial will prevent introduction

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of exculpatory evidence or will allow introduction of otherwise inadmissible evidence with

respect to either defendant. Joinder of defendants in this case was not improper and severance is

not required in light of the current record. See United States v. Wadena, 152 F.3d 831, 847-50

(8th Cir. 1998). Severance is a remedy that can be provided at the time of trial if appropriate

under the circumstances. At present, there has been no showing to support a recommendation

for severance of defendants.

               Dismissal of Indictment. Dismissal of the action on grounds that there was

insufficient evidence to support the indictment is not required. Defendant Arturo Barrilla Garcia

asserts without factual particularly that no competent evidence was presented to the Grand Jury

to support a claim that he was a part of the alleged conspiracy. Defendant has presented no

grounds for dismissal of the indictment under Fed. R. Crim. P. 6(b)(2), and the court does not

presume to know the substance of all evidence submitted to the grand jury in light of the general

rule of secrecy that applies to grand jury proceedings under Rule 6(e)(2). “It has long been

settled that an indictment is not open to challenge on the ground that there was inadequate or

insufficient evidence before the grand jury.” United States v. Nelson, 165 F.3d 1180, 1182 (8th

Cir. 1999) (citing Costello v. United States, 350 U.S. 359, 363–64, 76 S. Ct. 406 (1956); United

States v. Cady, 567 F.2d 771, 776 (8th Cir. 1977)). Consequently, the court has no basis on

which to overrule a probable cause determination made by the grand jury. In any event, the

testimony presented at the criminal motions hearing, as well as evidence presented at the

preliminary hearing, is sufficient to establish probable cause for the indictment conspiracy

charges in this case. Defendant Garcia’s motion to dismiss the indictment should be denied.

               Vehicle Stop. The stop of the vehicle in which defendants Arturo Barrilla Garcia

and Emanuel Gomez Maldonado were occupants on December 10, 2009, was not unlawfully

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conducted in violation the defendants’ constitution rights, and there was no arrest or unlawful

seizure of the defendants’ persons. The Fourth Amendment allows law enforcement officers to

conduct an investigative stop of a vehicle upon “reasonable suspicion that the vehicle or its

occupants are involved in criminal activity.” United States v. Bell, 480 F.3d 860, 863 (8th Cir.

2007). The officers’ reasonable suspicion must have “a particularized and objective basis” in

light of the totality of the circumstances. Id. (citing United States v. Jacobsen, 391 F.3d 904, 906

(8th Cir. 2004)). This standard is less demanding than probable cause. Id. During the stop, an

officer may engage in investigative methods that are tailored to the underlying justification for

the stop and capable of either verifying or dispelling the officer’s suspicion. See id. (citing

Florida v. Royer, 460 U.S. 491, 500, 103 S.Ct. 1319 (1983)). Furthermore, if an investigating

agent possesses requisite reasonable suspicion to justify an investigative stop, another officer

acting upon direction from the agent does not violate the Fourth Amendment in carrying out the

stop. See Jacobsen, 391 F.3d at 906. With respect to the present case, the investigative stop was

supported by reasonable suspicion under circumstances whereby a patrol officer conducts a

vehicle stop, obtains identifications from the vehicle occupants, and conducts pat-searches,

based upon instructions from another officer who, from a distance, observed behavior he

believed to be consistent with a drug transaction, then requested that the suspects’ vehicle be

stopped. United States v. Williams, 139 F.3d 628, 630 (8th Cir. 1998), see also United States v.

Brown, 913 F.2d 570, 572 (8th Cir. 1990)(search of vehicle passenger compartment properly

based on reasonable belief that occupants were involved in drug dealing). Suppression of the

defendants’ identification, or any other physical evidence or statements that may have been

obtained subsequent to the vehicle stop, is not required on the ground that the stop was unlawful.

               Based upon the foregoing Findings and Conclusions, the magistrate judge makes

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the following:

                                     RECOMMENDATION

                 The Court hereby recommends that:

                 1. Defendant Arturo Barrilla Garcia’s Motion to Dismiss Indictment on Grounds

of Insufficient Allegations and Insufficient Evidence be denied [Docket No. 39];

                 2. Defendant Arturo Barrilla Garcia’s Motion for Severance of Defendants be

denied [Docket No. 41];

                 3. Defendant Arturo Barrilla Garcia’s Motion to Suppress Evidence Obtained as

a Result of Search and Seizure be denied [Docket No. 42];

                 4. Defendant Edvin Emanuel Gomez Maldonado’s Motion to Suppress Evidence

as a Result of Search and Seizure and Unlawful Arrest be denied [Docket No. 20]; and

                 5. Defendant Edvin Emanuel Gomez Maldonado’s Motion for Severance of

Defendants be denied [Docket No. 28].


Dated:      March 22, 2010

                                                       s/Arthur J. Boylan
                                                      Arthur J. Boylan
                                                      United States Magistrate Judge


               Pursuant to Local Rule 72.2(b), any party may object to this Report and
Recommendation by filing with the Clerk of Court, and by serving upon all parties, written
objections which specifically identify the portions of the Report to which objections are made
and the bases for each objection. This Report and Recommendation does not constitute an order
or judgment from the District Court and it is therefore not directly appealable to the Circuit
Court of Appeals. Written objections must be filed with the Court before April 5, 2010.

                Unless the parties stipulate that the District Court is not required by 28 U.S.C. §
636 to review a transcript of the hearing in order to resolve all objections made to this Report
and Recommendation, the party making the objections shall timely order and file a complete
transcript of the hearing within ten days of receipt of the Report.

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